  4:08-cv-03026-JFB-PRSE Doc # 27 Filed: 01/29/09 Page 1 of 1 - Page ID # 61




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

JOHN LECHER ZAPATA, an                   )                 4:08CV3026
individual, and COLLEE M.                )
LECHER, an individual,                   )
                                         )
                    Plaintiffs,          )             MEMORANDUM
                                         )              AND ORDER
             v.                          )
                                         )
CSC CREDIT SERVICE, et al.,              )
                                         )
                    Defendants.          )

      This matter is before the court on Plaintiffs’ Motion to Dismiss Party. (Filing
No. 26.) This matter was dismissed and remanded back to the Lancaster County,
Nebraska District Court on March 12, 2008. (Filing Nos. 19 and 20.) The Motion is
therefore denied and a copy will be forwarded to the jurisdiction in which Plaintiffs’
claims are now pending.

      IT IS THEREFORE ORDERED that:

      1.     Plaintiffs’ Motion to Dismiss Party (filing no. 26) is denied.

      2.    The Clerk of the court shall forward a copy of this Memorandum and
Order and Plaintiffs’ Motion to Dismiss Party (filing no. 26) to the Lancaster County,
Nebraska District Court.

January 29, 2009.                      BY THE COURT:

                                       s/ Joseph F. Bataillon
                                       Chief United States District Judge
